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 6

 7                            UNITED STATES DISTRICT COURT
 8                                  DISTRICT OF NEVADA
 9
                                                                      GWF
10    UNITED STATES OF AMERICA,                 )   2:13-CR-00120-APG-PAL
                                                )
11                   Plaintiff,                 )
                                                )   STIPULATION FOR
12                   vs.                        )   PROTECTIVE ORDER
                                                )
13    MICHAEL SAN CLEMENTE, and                 )
      IRINA SANFORD,                            )
14                                              )
                                                )
15                   Defendants.                )
                                                )
16

17
              IT IS HEREBY STIPULATED AND AGREED between the parties, DANIEL G.
18
      BOGDEN, United States Attorney for the District of Nevada, and Kimberly M. Frayn and
19
      Andrew W. Duncan, Assistant United States Attorneys, counsel for the United States,
20
      and Michael Gowdey, Esq. Counsel for MICHAEL SAN CLEMENTE; and Melanie Hill,
21
      Esq. Counsel for IRINA SANFORD; that this Court issue the Protective Order1:
22
              1)   protecting from disclosure to the public any discovery materials or
23
      documents containing the personal identifying information and financial identifying
24

25     1
              This protective order is identical to the First Amended Protective Order
              issued in the following companion cases: 2:12-CR-04-MMD-GWF; 2:12-CR-
26            082-MMD-GWF and 2:12-CR-084-MMD-GWF, which are all pending trial on
              November 19, 2013.
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 1    information such as, names, social security numbers, drivers license numbers, dates of

 2    birth, addresses, mothers’ maiden names, passwords, debit card and credit card account

 3    numbers, financial lines of credit account numbers, bank account numbers, and Personal

 4    Identification Numbers (PINs), of participants, witnesses and victims in this case (such

 5    materials and documents shall be referred to hereinafter as “Protected Materials”);

 6            2)    protecting from disclosure to the public any discovery materials or

 7    documents containing “Electronic Contraband;”

 8            3)    designating a defense discovery repository; and

 9            4)    providing for production of and inspection by the defense of electronic
10    discovery materials.

11    PROTECTED MATERIALS AND ELECTRONIC CONTRABAND

12            1.    “Protected Materials” which may be used by the government in its case-in-

13    chief include personal and financial identifiers, including names, social security

14    numbers, drivers license numbers, dates of birth, addresses, mothers’ maiden names,

15    passwords, debit card and credit card account numbers, financial lines of credit account

16    numbers, bank account numbers, and Personal Identification Numbers (PINs), of

17    participants, witnesses, and victims in this case.

18            2.    “Electronic Contraband” shall include all Protected Materials, passwords

19    giving access to individual computers owned by individuals other than the defendants or
20    businesses owned by anyone other than the defendants, malware, files originating with

21    or belonging to government agencies, and IP addresses of computer servers which

22    contain, or for which there is a reasonable basis to believe contains, any of the

23    information, files or data described in this paragraph.

24            3.    Discovery in this case is voluminous and much of it includes Protected

25    Materials and Electronic Contraband. Redacting the Protected Materials and Electronic

26    Contraband would prevent the timely disclosure of discovery to the defendants.


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              4.    The United States agrees to provide Protected Materials and Electronic
 1
      Contraband without redaction.
 2
              5.    Access to Protected Materials and Electronic Contraband will be restricted
 3
      to persons authorized by the Court, namely defendants, attorneys of record and
 4
      attorneys, paralegals, investigators, experts, and secretaries employed by the attorneys
 5
      of record and performing on behalf of defendants in case number 2:12-CR-004-MMD-
 6
      GWF, 2:12-CR-083-MMD-GWF, 2:12-CR-084-MMD-GWF, and 2:13-CR-00120-MMD-
 7
      PAL (“the defense”). Access shall specifically include, but shall not be limited to: defense
 8
      discovery consultant, Russ Aoki, Esq., AOKI LAW PLLC., Seattle, Washington, 98101.
 9
              6.    The following restrictions will be placed on the defense unless and until
10
      further ordered by the Court. The defense shall not:
11
                    a.     make copies for, or allow copies of any kind to be made by any other
12
      person of Protected Materials and Electronic Contraband;
13
                    b.     allow any other person to read Protected Materials and Electronic
14
      Contraband ; and
15
                    c.     use Protected Materials and Electronic Contraband for any other
16
      purpose other than assisting in preparation for trial, trial, and appeal.
17
              7.    Any copies, reproductions, or notes made by the defense, which
18
      specifically copy or particularize Protected Materials or Electronic Contraband must be
19
      stored in a locked facility when not in use, and if stored on an electronic device, the
20
      devise must not be connected to the Internet at any time, except as needed to establish
21
      a connection to the CCAP environment. All papers, copies, reproductions, and notes
22
      maintained by the defense, which contains Protected Material and Electronic Contraband
23
      shall be handled in accordance with the provisions set forth in paragraph 10, upon
24
      conclusion of the criminal case.
25

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               8.    Defendants’ attorneys shall inform any person to whom disclosure may be
 1
      made pursuant to this Order of the existence and terms of this Court’s Order and of the
 2
      on-going obligation to comply with its restrictions.
 3
               9.    The requested restrictions shall not restrict the use or introduction, as
 4
      evidence, of discovery materials and documents containing Protected Materials and
 5
      Electronic Contraband during the trial of this matter.
 6
               10.   Upon conclusion of this action, defense attorneys shall return to
 7
      government counsel or destroy and certify in writing to government counsel the
 8
      destruction of ALL discovery materials and documents produced in these cases,
 9
      including, but not limited to, electronic discovery materials containing Protected Materials
10
      and Electronic Contraband, within a reasonable time, not to exceed thirty (30) days after
11
      the last appeal is final.
12
      DEFENSE DISCOVERY REPOSITORY
13
               11.   After conducting a hearing in case numbers 2:12-CR-004-MMD-GWF,
14
      2:12-CR-083-MMD-GWF, 2:12-CR-084-MMD-GWF and 2:13-CR-00120-MMD-PAL,
15
      which was closed to government counsel, the Honorable Magistrate Judge George W.
16
      Foley, Jr., ordered that a defense discovery repository should be established and
17
      maintained during the course of these three cases. The Court also designated Karen
18
      Winckler, Esq. a CJA panel attorney, to act on behalf of the collective defense in case
19
      numbers 2:12-CR-004-MMD-GWF, 2:12-CR-083-MMD-GWF, 2:12-CR-084-MMD-GWF,
20
      and 2:13-CR-00120-MMD-PAL as a defense discovery repository.
21
               12.   From the date of this Order, until further order of the Court, the
22
      government will produce all discovery materials to the defense discovery repository. The
23
      defense discovery repository shall be responsible for providing the defense access to all
24
      discovery materials produced to it by the government. The government is relieved of any
25
      responsibility, until further order of this Court, to provide individual discovery copies or
26


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      other individualized access to the discovery materials, other than what it produces to the
 1
      defense discovery repository.
 2
      ELECTRONIC DISCOVERY MATERIALS
 3
              13.   “Electronic discovery materials” shall mean electronic files and data, in
 4
      whatever computers and computer storage media they may be stored, and forensic or
 5
      other reports pertaining to computer networks computers, computer storage media, files
 6
      and data, by whomever prepared, which the government is required to produced
 7
      pursuant to Fed. R. Crim. P. 16(a).
 8
      CCAP
 9
              14.   Access to electronic discovery materials shall be restricted to the defense.
10
      The defense shall use and maintain all electronic discovery materials solely and
11
      exclusively in connection with this case, including trial preparation, trial, and appeal, and
12
      not for any literary, commercial, or other purposes.
13
              15.   The government may produce all electronic discovery materials by making
14
      copies of them available on the Clustered Computer Analysis Platform (“CCAP”).
15
      Information about the Software Engineering Institute’s CERT program at Carnegie
16
      Mellon (CCAP project) was presented to the defense, on or about June 5, 2012, by a
17
      representative of the CCAP project during a discovery meeting with the defense and the
18
      government. Thereafter, the defense notified the government of their consent to the
19
      CCAP for use in the government’s electronic discovery production. Absent further Order
20
      of this Court, the government shall not be obligated to make additional copies of any
21
      electronic discovery materials which are available on the CCAP, except that one
22
      complete copy of these materials will also be produced to the defense discovery
23
      repository attorney.
24
              16.   The defense’s inspection of electronic discovery materials on CCAP does
25
      not prejudice their rights to move the Court for addition discovery materials or the
26
      production of electronic discovery materials in a different form.

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              17.    All credentials and certifications necessary to access the CCAP shall be
 1
      maintained by defense counsel in a secured facility, and on one or more computers also
 2
      kept secured at all times, that are not connected to the Internet at any time, except as
 3
      needed to establish a connection to the CCAP environment. All credentials and
 4
      certifications necessary to access the CCAP shall be returned to a representative
 5
      designated by the CCAP project, within a reasonable time, not to exceed thirty (30) days
 6
      after the appeal is final.
 7
              18.   No one shall make or store copies of the electronic discovery materials
 8
      made available on CCAP. Any member of the defense who wishes to make or store
 9
      copies of the electronic discovery materials made available on CCAP, may do so if, and
10
      only if, the Court, by way of ex parte motion by defense counsel, deems such copies
11
      necessary to assist the defense in trial preparation, trial, and appeal. The CCAP
12
      discovery mechanism will allow for such making and storing of copies by the defense
13
      only upon receipt of a Court order directing that a particular defense counsel, on a
14
      particular date and time, be given authorization by CCAP to make and store copies. This
15
      order shall not specify what materials the defense is requesting to copy from CCAP, but
16
      shall state that the Court has been provided said information in the ex parte motion, and
17
      has deemed such copies necessary to assist the defense in trial preparation, trial, and
18
      appeal. Any copies of the electronic discovery materials on CCAP which specifically copy
19
      or particularize Protected Materials and Electronic Contraband must be stored in a
20
      secured facility, and shall be handled in accordance with the provisions set forth in
21
      paragraph 10 above, upon conclusion of the criminal case.
22
                    a.      Although the defense cannot print or store copies of the electronic
23
      discovery materials on CCAP, absent a court order, they may take notes concerning the
24
      electronic discovery materials. If such notes specifically copy or particularize Protected
25
      Materials or Electronic Contraband, the notes must be used, stored, and maintained, as
26
      provided for by this Order.

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                     b.    The defendants may not themselves make any notes from the
 1
      electronic discovery on CCAP which specifically copy or particularize Protected Materials
 2
      or Electronic Contraband. Instead, the defendants may ask defense counsel to do so on
 3
      their behalf. However, such notes shall be made only if the defense counsel agrees they
 4
      are necessary to assist the defense in trial preparation, trial, and appeal, and must be
 5
      used, stored, and maintained by defense counsel as provided for by this Order
 6
      Creating, Maintaining and Servicing CCAP
 7
              19.    Representatives designated by the CCAP project shall construct the CCAP
 8
      environment and shall load the electronic discovery materials into the environment prior
 9
      to the defense accessing the CCAP. After the defense is permitted to access the CCAP,
10
      additional electronic discovery materials may only be loaded into the CCAP environment
11
      upon joint agreement between government counsel and the defense discovery repository
12
      attorney, or upon further order of the Court.
13
              20.    A representative shall be designated by the CCAP project to physically
14
      maintain the equipment needed to sustain the CCAP environment. Only this
15
      representative will possess a key to the otherwise locked equipment and will maintain a
16
      written log documenting any access made to the equipment. No access to the content of
17
      the CCAP environment will be undertaken during any physical maintenance of the
18
      equipment.
19
              21.    A representative shall be designated by the CCAP project to access the
20
      CCAP environment to administer cyber repairs to that environment but only as directed
21
      and authorized by the defense discovery repository, in writing.
22
              22.    The United States shall not monitor or record in any way what electronic
23
      discovery material the defense looks at in the CCAP environment, what the defense
24
      searches for, or anything the defense prints out in paper copy from the CCAP
25
      environment.
26


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              23.   No administrative log will be kept by any representative of the CCAP project
 1
      which monitors or records in any way what electronic discovery material the defense
 2
      looks at in the CCAP environment, what the defense searches for, or anything the
 3
      defense prints out in paper copy from the CCAP environment. However, an
 4
      administrative log will be maintained by a representative designated by the CCAP
 5
      project, which documents the date, time, and IP address of the connecting computers for
 6
      each occurrence whenever anyone connects to the CCAP environment. No content from
 7
      within the CCAP environment will be captured in this log. The log will be produced to the
 8
      parties anytime, upon written request, for review to assure ongoing compliance with this
 9
      Protective Stipulation and Order. The defense shall have an ongoing duty to provide the
10
      defense discovery repository with an up-to-date listing of the IP addresses for the
11
      computers that the defense uses to access the CCAP environment.
12
      ///
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      ///
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                                            CONCLUSION
 1
              24.   The parties shall promptly notify the Court and opposing counsel in writing
 2
      if any discovery materials protected herein are disclosed either intentionally or
 3
      unintentionally to anyone not designated as authorized to access them.
 4

 5

 6
      DANIEL G. BOGDEN                                 LAW OFFICE OF MELANIE HILL
 7    United States Attorney

 8         /s/ Kimberly Frayn                              /s/ Melanie Hill
      By:                                              By:
 9    KIMBERLY FRAYN                                   MELANIE A. HILL
      Assistant United States Attorney                 Counsel for Defendant Irina Sanford
10    Counsel for the Plaintiff

11
      LAW OFFICES OF MICHAEL I. GOWDEY
12

13        /s/ Michael I. Gowdey
      By:
14    MICHAEL I. GOWDEY
      Counsel for Defendant Michael San Clemente
15

16

17

18

19                                              ORDER
20                                  11th day of June, 2013.
              IT IS SO ORDERED this _____

21

22                                              ____________________________________
                                                UNITED STATES MAGISTRATE JUDGE
23

24

25

26


                                                   9
